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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   NETLIST, INC.,                  )
                                   )
             Plaintiff,            )
                                   )
                                                   Civil Action No. 2:22-cv-203-JRG
        vs.                        )
                                   )
                                                   JURY TRIAL DEMANDED
   MICRON TECHNOLOGY, INC.; MICRON )
   SEMICONDUCTOR PRODUCTS, INC.; )
   MICRON TECHNOLOGY TEXAS LLC, )
                                   )
             Defendants.           )
                                   )

                                             ORDER

          The Court, having considered Netlist’s Motion to Compel Production of Contracts and

   MOUs with Major Customers, Commission Records, and Decisions to Discontinue HMC

   Products, any response, and supporting documents attached thereto, is of the opinion that said

   motion should be GRANTED.

          IT IS SO ORDERED.
